       Case 1:08-cr-00282-LJO Document 35 Filed 10/09/08 Page 1 of 2


 1   DALE A. BLICKENSTAFF - #40681
     2350 West Shaw Avenue, Suite 132
 2   Fresno, California 93711
     (559) 432-0986 Telephone
 3   (559) 432-4871 Facsimile

 4
     Attorney for Defendant, JUAN PEREZ, JR.
 5

 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             )                Case No.:1:08-cr-00282 LJO
                                           )
11                     Plaintiff,          )                STIPULATION AND ORDER
                                           )                TO AMEND PROPERTY BOND
12   v.                                    )                AND VALUE
                                           )
13   JUAN PEREZ, JR.                       )
                                           )
14                     Defendant.          )
                                           )
15   _____________________________________ )

16                                            BACKGROUND

17          At the detention hearing held on September 11, 2008, the Court ordered defendant released

18   by posting a property bond in the amount of $170,000 secured by equity in property owned by

19   defendant’s aunt, Esperanza Gonzalez.

20          After the Court’s order, a different property became available for bond purposes. The new

21   property is jointly owned by defendant’s father, Juan Perez, Sr. and two other relatives. This new

22   property has no liens or mortgages, is located in Riverside County, and serves as the residence of

23   defendant’s father and grandmother. This new property was appraised on October 6, 2008 and is

24   valued at $164,000. The new property address is 29181 Happy Valley Rd, Desert Hot Springs,

25   California 92241-8156.

26          Counsel for the defendant has relayed these facts to AUSA Kimberly Sanchez and Pretrial

27   Services Officer Jacob Scott and both have approved substituting the new property for the bond and

28                            Stipulation and Order to Amend Property Bond and Value
                                             Case No.:1:08-cr-00282 LJO
       Case 1:08-cr-00282-LJO Document 35 Filed 10/09/08 Page 2 of 2


 1   have agreed to the lower property bond value of $164,000.

 2             THEREFORE, it is stipulated that the new property described above be substituted for the

 3   originally designated property and that the bond value be established at $164,000.

 4                                                   Respectfully submitted,

 5

 6   DATED: October 7, 2008                           /s/ Dale A. Blickenstaff
                                                     DALE A. BLICKENSTAFF
 7                                                   Attorney for Defendant,
                                                     Juan Perez, Jr.
 8

 9
     DATED: October 7, 2008                          /s/ Kimberly A. Sanchez
10                                                   KIMBERLY A. SANCHEZ
                                                     Assistant United States Attorney
11

12
     DATED: October 7, 2008                           /s/ Jacob M. Scott
13                                                   JACOB M. SCOTT
                                                     United States Probation Pretrial Services
14

15

16                                                   ORDER

17

18             IT IS SO ORDERED that the property located at 29181 Happy Valley Drive, Desert Hot

19   Springs, California 92241-8156 and owned by Juan Perez, Sr., Miguel Perez, and Mario Perez be

20   substituted in place of the property owned by Esperanza Gonzalez. Further, that the value of the

21   property bond be fixed in the amount of $164,00.00.

22

23            IT IS SO ORDERED.

24            Dated:    October 9, 2008                         /s/ Gary S. Austin
     6i0kij                                               UNITED STATES MAGISTRATE JUDGE
25

26

27

28                              Stipulation and Order to Amend Property Bond and Value
                                               Case No.:1:08-cr-00282 LJO
                                                                                                 Page 2
